
FRY V. STATE






NO. 07-08-0245-CR

NO. 07-08-0246-CR

NO. 07-08-0247-CR

NO. 07-08-0248-CR

NO. 07-08-0249-CR

NO. 07-08-0250-CR

NO. 07-08-0251-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



JUNE 24, 2008

______________________________



JOHN PAUL ORTEGA, JR.,



Appellant



v.



THE STATE OF TEXAS,



Appellee

_________________________________



FROM THE 108th DISTRICT COURT OF POTTER COUNTY;



NOS. 52,879-E, 54,034-E, 54,569-E, 54,570-E, 54,571-E, 54,863-E, 55,917-E;

HON. ABE LOPEZ, PRESIDING

_______________________________



ORDER OF DISMISSAL

_______________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Appellant, John Paul Ortega, Jr., appeals his convictions for possession of a controlled substance, cruelty to animals, aggravated assault against a public servant (2), robbery, aggravated assault with a deadly weapon and sexual assault of a child. &nbsp;The certification of right to appeal in each case executed by the trial court states that this “is a plea bargain case and the defendant has no right of appeal.” &nbsp;This circumstance was brought to the attention of appellant, who is acting 
pro se
, and opportunity was granted him to obtain an amended certification entitling appellant to appeal each case. &nbsp;No such certification was received within the time we allotted. &nbsp;However, appellant filed a motion requesting that counsel be appointed. &nbsp;Having received no amended certification, we dismiss the appeals per Texas Rule of Appellate Procedure 25.2(d). &nbsp;Accordingly, appellant’s motion for appointed counsel is denied as moot.



Per Curiam



Do not publish.


































